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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE,
Plaintiff,
-against-

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD BOY
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, and ORGANIZATIONAL DOES
1-10,

Defendants.

Case No.: 1:24-cv-07975-AT

NOTICE OF VOLUNTARY
DISMISSAL PURSUANT TO
RULE 41(a)(1)(A)(i) OF THE
FEDERAL RULES OF CIVIL
PROCEDURE

Pursuant to Rule 41(a)(1)(A)(@) of the Federal Rules of Civil Procedure, Plaintiff Jane

Doe, by and through her undersigned counsel, hereby gives notice that the above-captioned

Action is voluntarily dismissed with prejudice. Counsel for Plaintiff have discussed this matter

with counsel for each Defendant, who acknowledge and consent to this submission.

Dated: New York, New York
February 14, 2025

CURIS LAW, PLLC

Antigone Curis

52 Duane Street, 7th FI.
New York, NY 10007
(646) 335-7220
antigone@curislaw.com

— AND —

THE BUZBEE LAW FIRM
Anthony G. Buzbee
Texas Bar No. 24001820
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— AND —

AVA LAW GROUP

Andrew Van Arsdale

CA Bar No. 323370

andrew. vanarsdale@avalaw.com
3667 Voltaire Street, Ste. 101

Attorneys for Jane Doe

SO ORDERED

Judge Analisa Torres
United States District Judge

Dated: , 2025

